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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

NATHAN THOMAS COCHRAN,         :               PRISONER CIVIL RIGHTS
Inmate No. 2307742,            :               42 U.S.C. §1983
      Plaintiff,               :
                               :
         v.                    :
                               :               CIVIL ACTION NO.
SHERIFF PATRICK LABAT; et al., :               1:23-CV-3773-SDG-JKL
    Defendants.                :

                                       ORDER

      This matter is presently before the Court on Plaintiff Nathan Thomas

Cochran’s motion for default judgment. [Doc. 8.] Upon review, the Court DENIES

the motion.

      To start, Plaintiff’s motion is premature because the Clerk has not entered

default against any defendant. Obtaining a default judgment is normally a two-step

process. The moving party first must show “by affidavit or otherwise” that another

party is in default. Fed. R. Civ. P. 55(a). That is, upon a showing that a party against

whom judgment is sought fails “to plead or otherwise defend,” the Clerk will make

an “entry of default” on the docket. Id. Thereafter, a party may seek a “default

judgment.” Fed. R. Civ. P. 55(b). The Clerk’s entry of a party’s default is, thus, a

prerequisite to the application for entry of a default judgment against that party. See

Fed. R. Civ. P. 55; Bonny v. Benchmark Brands, Inc., 1:16-cv-3150-WSD, 2017 WL
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1216926, at *1 (N.D. Ga. Mar. 10, 2017); Sun v. United States, 342 F. Supp. 2d

1120, 1124 n.2 (N.D. Ga. 2004).

      Plaintiff’s motion must also be denied because none of the defendants have

been served and thus, the Court presently lacks jurisdiction over them. Hines v.

Regions Bank, 782 F. App’x 853, 854 (11th Cir. 2019) (“[A] party’s delay may result

in a default judgment only if the party has been properly served because ‘a court

lacks jurisdiction over the person of a defendant when that defendant has not been

served.’” (quoting Pardazi v. Cullman Med. Ctr., 896 F.2d 1313, 1317 (11th Cir.

1990)).

      For these reasons, Plaintiff’s motion is DENIED WITHOUT PREJUDICE.

      SO ORDERED this 7th day of December, 2023.



                                        ___________________________________
                                        JOHN K. LARKINS III
                                        UNITED STATES MAGISTRATE JUDGE




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